          Case 1:21-cv-00532-SAG Document 60 Filed 06/04/21 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 Bryce Carrasco,
 Plaintiff
                                                 Case No. 1:21-cv-00532-SAG
 v.

 M&T Bank,
 Defendant


       MOTION FOR ISSUANCE OF THIRD-PARTY SUBPOENA DUCES TECUM
COMES NOW the plaintiff, Bryce Carrasco (“Plaintiff”) to submit this request for the court to
order that the clerk authorize and sign three (3) third-party subpoenas duces tecum for the
plaintiff to serve on the following persons:
      1. EQUIFAX INFORMATION SERVICES LLC
         1550 PEACHTREE STREET, NW
         ATLANTA GA 30309
           a. Serve: CSC-Lawyers incorporating Service Co.
              7 ST. PAUL STREET
              SUITE 820
              BALTIMORE MD 21202
      2. EXPERIAN INFORMATION SOLUTIONS, INCORPORATED
         505 CITY PKWY WEST
         ORANGE CA 92668
           a. SERVE: THE CORPORATION TRUST, INCORPORATED
              2405 YORK ROAD
              SUITE 201
              LUTHERVILLE TIMONIUM MD 21093-2264
      3. TRANS UNION LLC
         555 W. ADAMS STREET
         CHICAGO IL 60661
           a. SERVE: CSC-LAWYERS INCORPORATING SERVICE CO.
              7 ST. PAUL STREET
              SUITE 820
              BALTIMORE MD 21202.
Plaintiff believes that it is necessary to request production of documents from the above-listed
persons as it relates to the reinvestigations conducted in response to the various disputes initiated
         Case 1:21-cv-00532-SAG Document 60 Filed 06/04/21 Page 2 of 2



based on information which was furnished by the defendant M&T Bank Corporation (“M&T” or
“Defendant”). These documents will provide for a more complete factual record by which the
court will be able to adjudicate all fact issues present in this civil action. Plaintiff has provided
for the documents to be produced electronically via email so as not to place undue burden on any
non-party to which these subpoenas will be served.
Attached are three proposed subpoenas which the plaintiff seeks to be signed by the clerk of
court.
Submitted 4th of June 2021.
Bryce Carrasco, as Plaintiff.
/s/Bryce Carrasco
